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 1   Joseph R. Manning, Jr., Esq. (State Bar No. 223381)
     MANNING LAW, APC
 2   20062 SW Birch Street, Ste. 200
 3   Newport Beach, CA 92660
     Office: (949) 200-8755
 4   DisabilityRights@manninglawoffice.com
 5

 6   Attorney for Plaintiff: CARMEN JOHN PERRI
 7

 8                          UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10

11                                            Case No.
     CARMEN JOHN PERRI, an
12                                            Complaint For Damages And
13   individual,                              Injunctive Relief For:

14                    Plaintiff,               1. VIOLATIONS OF THE
15                                                AMERICANS WITH DISABILITIES
     v.                                           ACT OF 1990, 42 U.S.C. §12181 et
16                                                seq. as amended by the ADA
17                                                Amendments Act of 2008 (P.L. 110-
     420 BOYD STREET, LLC, a
                                                  325).
18   California limited liability company;
     and DOES 1-10, inclusive,
19                                             2. VIOLATIONS OF THE UNRUH
                                                  CIVIL RIGHTS ACT, CALIFORNIA
20                    Defendants.                 CIVIL CODE § 51 et seq.
21

22
           Plaintiff, CARMEN JOHN PERRI (“Plaintiff”), complains of Defendant 420
23
     BOYD STREET, LLC, a California limited liability company; and Does 1-10
24
     (“Defendants”) and alleges as follows:
25
                                             PARTIES
26
           1.      Plaintiff’s musculoskeletal and neurological systems are impaired.
27
     These impairments result in weakness, fatigue, pain, and loss of strength in his arms,
28
     hands, and legs. He has also developed permanent nerve damage that has caused
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                                          COMPLAINT
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 1   increased pain and limits his ability to function and limits his mobility, especially for
 2   any extended period of time. He is substantially limited in performing one or more
 3   major life activities, including but not limited to: walking, standing, ambulating,
 4   and/or sitting. Plaintiff’s circulatory and cardiovascular systems are impaired.
 5   Specifically, Plaintiff has been diagnosed with Atrial Fibrillation. This substantially
 6   limits his ability to walk, stand, ambulate, breath, sit, or otherwise function. As a
 7   result of his impairments, he is subject to falls, unsteady on his feet, cannot walk for
 8   any significant distance without having to periodically rest, and often relies upon
 9   mobility devices to ambulate including a cane, walker, or wheelchair. With such
10   disabilities, Plaintiff qualifies as a member of a protected class under the Americans
11   with Disabilities Act, 42 U.S.C. §12102(2) as amended by the ADA Amendments
12   Act of 2008 (P.L. 110-325) (“ADA”) and the regulations implementing the ADA set
13   forth at 28 C.F.R. §§ 36.101 et seq. At the time of Plaintiff’s visits to Defendants’
14   facility and prior to instituting this action, Plaintiff suffered from a “qualified
15   disability” under the ADA, including those set forth in this paragraph. Plaintiff is
16   also the holder of a Disabled Person Parking Placard.
17         2.     Plaintiff is informed and believes and thereon alleges that Defendant
18   420 BOYD STREET, LLC, a California limited liability company, owned the
19   property located at 8815 Valley Blvd., Rosemead, CA 91770 (“Property”) on or
20   around June 29, 2020.
21         3.     Plaintiff is informed and believes and thereon alleges that Defendant
22   420 BOYD STREET, LLC, a California limited liability company, owns the
23   Property currently.
24         4.     Plaintiff does not know the true name of Defendant, its business
25   capacity, its ownership connection to the Property serving GW Supermarket
26   (“Business”), or its relative responsibilities in causing the access violations herein
27   complained of. Plaintiff is informed and believes that each of the Defendants herein,
28   including Does 1 through 10, inclusive, is responsible in some capacity for the
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                                            COMPLAINT
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 1   events herein alleged, or is a necessary party for obtaining appropriate relief.
 2   Plaintiff will seek leave to amend when the true names, capacities, connections, and
 3   responsibilities of the Defendants and Does 1 through 10, inclusive, are ascertained.
 4                               JURISDICTION AND VENUE
 5          5.     This Court has subject matter jurisdiction over this action pursuant
 6   to 28 U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the ADA.
 7          6.     This court has supplemental jurisdiction over Plaintiff’s non-federal
 8   claims pursuant to 28 U.S.C. § 1367, because Plaintiff’s Unruh Civil Rights Act,
 9   California Civil Code § 51 et seq., (“UCRA”) claims are so related to Plaintiff’s
10   federal ADA claims in that they have the same nucleus of operative facts and
11   arising out of the same transactions, they form part of the same case or controversy
12   under Article III of the United States Constitution.
13          7.     Venue is proper in this court pursuant to 28 U.S.C. §1391 because the
14   real property which is the subject of this action is located in this district and because
15   Plaintiff's causes of action arose in this district.
16                                FACTUAL ALLEGATIONS
17          8.     Plaintiff went to the Business on or about June 29, 2020 for the dual
18   purpose of purchasing groceries and to confirm that this public place of
19   accommodation is accessible to persons with disabilities within the meaning federal
20   and state law.
21          9.     The Business is a facility open to the public, a place of public
22   accommodation, and a business establishment.
23          10.    Parking spaces are one of the facilities, privileges and advantages
24   reserved by Defendants to persons at the property serving the Business.
25          11.    Unfortunately, although parking spaces were one of the facilities
26   reserved for patrons, there were no designated parking spaces available for persons
27   with disabilities that complied with the 2010 Americans with Disabilities Act
28   Accessibility Guidelines (“ADAAG”) on June 29, 2020.
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                                             COMPLAINT
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 1         12.    At that time, instead of having architectural barrier free facilities for
 2   patrons with disabilities, Defendants have: an accessible parking area whose slope
 3   exceeds ADAAG specifications (Section 502.4).
 4         13.    Subject to the reservation of rights to assert further violations of law
 5   after a site inspection found infra, Plaintiff asserts there are additional ADA
 6   violations which affect him personally.
 7         14.    Plaintiff is informed and believes and thereon alleges Defendants had
 8   no policy or plan in place to make sure that there was compliant accessible parking
 9   reserved for persons with disabilities prior to June 29, 2020.
10         15.    Plaintiff is informed and believes and thereon alleges Defendants have
11   no policy or plan in place to make sure that the designated disabled parking for
12   persons with disabilities comport with the ADAAG.
13         16.    Plaintiff personally encountered these barriers. The presence of these
14   barriers related to Plaintiff’s disability denies Plaintiff his right to enjoy accessible
15   conditions at public place of accommodation and invades legally cognizable
16   interests created under the ADA.
17         17.    The conditions identified supra in paragraph 12 are necessarily related
18   to Plaintiff’s legally recognized disability in that Plaintiff is substantially limited in
19   the major life activities of walking, standing, ambulating, and sitting; Plaintiff is the
20   holder of a disabled parking placard; and because the enumerated conditions relate
21   to the use of the accessible parking, relate to the slope and condition of the
22   accessible parking and accessible path to the accessible entrance, and relate to the
23   proximity of the accessible parking to the accessible entrance.
24         18.    As an individual with a mobility disability who at times relies upon a
25   wheelchair or other mobility devices, Plaintiff has a keen interest in whether public
26   accommodations have architectural barriers that impede full accessibility to those
27   accommodations by individuals with mobility impairments.
28         19.    Plaintiff is being deterred from patronizing the Business and its
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                                            COMPLAINT
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 1   accommodations on particular occasions, but intends to return to the Business for the
 2   dual purpose of availing himself of the goods and services offered to the public and
 3   to ensure that the Business ceases evading its responsibilities under federal and state
 4   law.
 5          20.      Upon being informed that the public place of accommodation has
 6   become fully and equally accessible, he will return within 45 days as a “tester” for
 7   the purpose of confirming their accessibility. Civil Rights Educ. and Enforcement
 8   Center v. Hospitality Props. Trust, 867 F.3d 1093, 1096 (9th Cir. 2017).
 9          21.      As a result of his difficulty experienced because of the inaccessible
10   condition of the facilities of the Business, Plaintiff was denied full and equal access
11   to the Business and Property.
12          22.      The Defendants have failed to maintain in working and useable
13   conditions those features required to provide ready access to persons with
14   disabilities.
15          23.      The violations identified above are easily removed without much
16   difficulty or expense. They are the types of barriers identified by the Department of
17   Justice as presumably readily achievable to remove and, in fact, these barriers are
18   readily achievable to remove. Moreover, there are numerous alternative
19   accommodations that could be made to provide a greater level of access if complete
20   removal were not achievable.
21          24.      Given the obvious and blatant violation alleged hereinabove, Plaintiff
22   alleges, on information and belief, that there are other violations and barriers in the
23   site that relate to his disability. Plaintiff will amend the complaint, to provide proper
24   notice regarding the scope of this lawsuit, once he conducts a site inspection.
25   However, the Defendants are on notice that the Plaintiff seeks to have all barriers
26   related to his disability remedied. See Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008)
27   (holding that once a plaintiff encounters one barrier at a site, the plaintiff can sue to
28   have all barriers that relate to his disability removed regardless of whether he
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                                             COMPLAINT
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 1   personally encountered them).
 2         25.    Without injunctive relief, Plaintiff will continue to be unable to fully
 3   access Defendants’ facilities in violation of Plaintiff’s rights under the ADA.
 4                               FIRST CAUSE OF ACTION
 5    VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT OF 1990,
 6      42 U.S.C. § 12181 et seq. as amended by the ADA Amendments Act of 2008
 7                                        (P.L. 110-325)
 8         26.    Plaintiff re-alleges and incorporates by reference all paragraphs alleged
 9   above and each and every other paragraph in this Complaint necessary or helpful to
10   state this cause of action as though fully set forth herein.
11         27.    Under the ADA, it is an act of discrimination to fail to ensure that the
12   privileges, advantages, accommodations, facilities, goods, and services of any place
13   of public accommodation are offered on a full and equal basis by anyone who owns,
14   leases, or operates a place of public accommodation. See 42 U.S.C. § 12182(a).
15   Discrimination is defined, inter alia, as follows:
16                a.     A failure to make reasonable modifications in policies, practices,
17                       or procedures, when such modifications are necessary to afford
18                       goods, services, facilities, privileges, advantages, or
19                       accommodations to individuals with disabilities, unless the
20                       accommodation would work a fundamental alteration of those
21                       services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
22                b.     A failure to remove architectural barriers where such removal is
23                       readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
24                       defined by reference to the ADAAG, found at 28 C.F.R., Part 36,
25                       Appendix "D".
26                c.     A failure to make alterations in such a manner that, to the
27                       maximum extent feasible, the altered portions of the facility are
28                       readily accessible to and usable by individuals with disabilities,
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                                            COMPLAINT
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 1                         including individuals who use wheelchairs, or to ensure that, to
 2                         the maximum extent feasible, the path of travel to the altered area
 3                         and the bathrooms, telephones, and drinking fountains serving
 4                         the area, are readily accessible to and usable by individuals with
 5                         disabilities. 42 U.S.C. § 12183(a)(2).
 6         28.       Any business that provides parking spaces must provide accessible
 7   parking spaces. 2010 Standards § 208. Under the 2010 Standards, access aisles
 8   shall be at the same level as the parking spaces they serve. Changes in level are not
 9   permitted. 2010 Standards § 502.4. "Access aisles are required to be nearly level in
10   all directions to provide a surface for wheelchair transfer to and from vehicles." 2010
11   Standards § 502.4 Advisory. Here the failure to provide a level access aisle in the
12   designated disabled parking space is a violation of the law and excess slope angle in
13   the access pathway is a violation of the law.
14         29.       A public accommodation must maintain in operable working condition
15   those features of its facilities and equipment that are required to be readily accessible
16   to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
17         30.       Here, the failure to ensure that accessible facilities were available and
18   ready to be used by Plaintiff is a violation of law.
19         31.       Given its location and options, Plaintiff will continue to desire to
20   patronize the Business but he has been and will continue to be discriminated against
21   due to lack of accessible facilities and, therefore, seeks injunctive relief to remove
22   the barriers.
23                                SECOND CAUSE OF ACTION
24       VIOLATION OF THE UCRA, CALIFORNIA CIVIL CODE § 51 et seq.
25         32.       Plaintiff re-alleges and incorporates by reference all paragraphs alleged
26   above and each and every other paragraph in this Complaint necessary or helpful to
27   state this cause of action as though fully set forth herein.
28          33.      California Civil Code § 51 et seq. guarantees equal access for people
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                                              COMPLAINT
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 1   with disabilities to the accommodations, advantages, facilities, privileges, and
 2   services of all business establishments of any kind whatsoever. Defendants are
 3   systematically violating the UCRA, Civil Code § 51 et seq.
 4         34.    Because Defendants violate Plaintiff’s rights under the ADA,
 5   Defendants also violated the UCRA and are liable for damages. (Civ. Code § 51(f),
 6   52(a).) These violations are ongoing.
 7         35.    Plaintiff is informed and believes and thereon alleges that Defendants’
 8   actions constitute discrimination against Plaintiff on the basis of a disability, in
 9   violation of the UCRA, Civil Code § 51 et seq., because Defendants have been
10   previously put on actual or constructive notice that the Business is inaccessible to
11   Plaintiff. Despite this knowledge, Defendants maintain its premises in an
12   inaccessible form, and Defendants have failed to take actions to correct these
13   barriers.
14                                          PRAYER
15    WHEREFORE, Plaintiff prays that this court award damages provide relief as
16   follows:
17         1.     A preliminary and permanent injunction enjoining Defendants from
18   further violations of the ADA, 42 U.S.C. § 12181 et seq. as amended by the ADA
19   Amendments Act of 2008 (P.L. 110-325), and UCRA, Civil Code § 51 et seq. with
20   respect to its operation of the Business and Property; Note: Plaintiff is not invoking
21   section 55, et seq, of the California Civil Code and is not seeking injunctive relief
22   under the Disabled Persons Act (Cal. C.C. §54) at all.
23         2.     An award of actual damages and statutory damages of not less than
24   $4,000 per violation pursuant to § 52(a) of the California Civil Code;
25         3.     An additional award of $4,000.00 as deterrence damages for each
26   violation pursuant to Johnson v. Guedoir, 218 F. Supp. 3d 1096; 2016 U.S. Dist.
27   LEXIS 150740 (USDC Cal, E.D. 2016); and,
28         4.     For reasonable attorneys' fees, litigation expenses, and costs of suit,
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                                            COMPLAINT
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 1   pursuant to 42 U.S.C. § 12205; California Civil Code § 52.
 2                               DEMAND FOR JURY TRIAL
 3         Plaintiff hereby respectfully requests a trial by jury on all appropriate issues
 4   raised in this Complaint.
 5

 6   Dated: July 23, 2020             MANNING LAW, APC
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 8                                    By: /s/ Joseph R. Manning Jr., Esq.
                                         Joseph R. Manning Jr., Esq.
 9                                       Attorney for Plaintiff
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